                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
 IN RE:                                        )
                                               )        CHAPTER:              13
 ANDY LAMAR ALLMAN,                            )        CASE NO.:             17-03085
                                               )        JUDGE:                WALKER
       Debtor.                                 )

   DISCLOSURE STATEMENT PURSUANT TO RULE 2016(b) OF THE FEDERAL
                 RULES OF BANKRUPTCY PROCEDURE

        Pursuant to Rule 2016(b) of the Federal Rules of Bankruptcy Procedure, Limited Counsel
for the Debtor, Niarhos & Waldron, PLC (the “Firm”), makes the following disclosure:

       The Firm has received payment from the Debtor in the amount of $2,497.89. The Firm has
not made any arrangements to share any compensation with any party whatsoever, nor does the
Firm have any arrangements for sharing of any compensation awarded.

                                            Respectfully submitted,

                                            /s/ Gray Waldron
                                            TIMOTHY G. NIARHOS
                                            GRAY WALDRON
                                            REBECCA J. YIELDING
                                            NIARHOS & WALDRON, PLC
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                                            Limited Counsel for Debtors

                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a true and correct copy of the foregoing document via
CM/ECF Email Service on the U.S. Trustee and all other parties requesting such notice on this the
18th day of July, 2017.

                                            /s/ Gray Waldron
                                            GRAY WALDRON




Case 3:17-bk-03085      Doc 35    Filed 07/18/17 Entered 07/18/17 10:10:07           Desc Main
                                  Document     Page 1 of 1
